       CASE 0:20-cv-02472-JRT-DTS Doc. 29 Filed 02/10/22 Page 1 of 2




                            UNITES STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Tracy Proctor,                                     Case No. 20-CV-2472 (JRT/DTS)

                     Plaintiff,                         STIPULATION
vs.

Unum Life
       r Insurance Company of America,



                     Defendant.


       The parties, through their undersigned counsel, stipulate and agree as follows:

       1. Dispositive motions are due to be filed with the Court on January 3, 2022.

       2. Cross motions will be filed for a determination on the administrative record

pursuant to Fed. R. Civ. Pro. 39(a)(l) and 52(a)(l).

       3. The parties' Cross-Motions seek a determination as to whether Defendant

wrongfully terminated Plaintiff's LTD benefits; whether Plaintiff has met her burden of

proof, by a preponderance of the evidence, that she is entitled to payment of long-term

disability benefits past the date payment of benefits were terminated; and what remedy is

appropriate.

       4. The standard of review is de novo.

       5. The evidence to be relied upon is the Defendant's administrative record (the

parameters of which will be determined by the Court) without reference to Fed. R. Civ.

Pro. 56 motion standards.

       6. The briefing schedule shall be:

                                               1
CASE 0:20-cv-02472-JRT-DTS Doc. 29 Filed 02/10/22 Page 2 of 2
